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                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII

  HOLLY CARMICHAEL, et al.,

  Plaintiffs,

  v.                                       Case No. 1:20-cv-00273 JAO-WRP

  DAVID IGE, in his official capacity as
  the Governor of the State of Hawaii,

  Defendant.




       UNITED STATES’ RESPONSE TO COURT’S JUNE 23, 2020 ORDER
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  United States’ Authority: The United States filed its Statement of Interest under

  28 U.S.C. § 517, which authorizes the Attorney General “to attend to the interests

  of the United States in a suit pending in a court of the United States . . . or to attend

  to any other interest of the United States.” The United States has a long history of

  using this authority in private suits, filing over 600 statements of interest since

  1925. Victor Zapana, Note, The Statement of Interest as a Tool in Federal Civil

  Rights Enforcement, 52 Harv. C.R.–C.L. L. Rev. 227, 228-29 (2017). Legion

  cases confirm that Section 517 authorizes it to file statements of interest without

  leave of court. 1 “Pursuant to 28 U.S.C. § 517, the United States may submit a

  statement in a case expressing its views on relevant issues in which it has an

  interest.” Wortman v. All Nippon Airways, 854 F.3d 606, 617 (9th Cir. 2017). A

  statement of interest is not an “amicus brief” subject to local rules whereby leave

  must be sought to file. While, as this Court noted, the “Ninth Circuit has compared

  a § 517 statement to an amicus brief” for which leave is required, Section 517

  provides clear statutory authority for the United States to attend to its interests in

  any court or proceeding to which it is not a party. Even if a statement of interest


  1
   See, e.g., Gil v. Winn Dixie Stores, Inc., 242 F. Supp. 3d 1315, 1317 (S.D. Fla.
  2017); Karnoski v. Trump, No. 18-51013, 2018 WL 4501484, at *2 (E.D. Mich.
  Sept. 20, 2018); Vassallo v. Rural/Metro Corp., No. 15-00119, 2017 WL 4570706,
  at *2 n.2 (D. Ariz. Oct. 5, 2017). The Department previously has filed a statement
  of interest in this Court. See Faith Action for Cmty. Equity v. Haw. Dep’t of
  Transp., No. 13-CV-00450, 2015 WL 309504 (D. Haw. Jan. 13, 2015).
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  were comparable to a mere amicus brief, the rules give the United States the right

  to “file an amicus brief without the consent of the parties or leave of court.” Fed.

  R. App. P. 29(a)(2). Local Rule 7.2 sets briefing limitations for parties and does

  not limit the United States’ congressionally conferred Section 517 authority.

  United States’ Interest: The Federal Government holds the discretion to weigh in

  on controversies when it determines that its interests are implicated. Section 517

  entrusts the Attorney General, not courts, with the obligation to determine the

  contours of the United States’ “interests.” See, e.g., United States ex rel. Prather v.

  Brookdale Senior Living Cmtys., Inc., 892 F.3d 822, 833 n.6 (6th Cir. 2018) (“The

  legislative branch has created the scheme that gives the executive branch the

  ability to ‘attend to the interests of the United States,’ 28 U.S.C. § 517, as it—not

  we—may choose.”); Roeder v. Islamic Republic of Iran, 195 F. Supp. 2d 140, 158

  (D.D.C. 2002). Section 517 is “drawn so that a court would have no meaningful

  standard against which to judge the [Government]’s exercise of discretion.”

  Heimberger v. Pritzker, No. 2:12-01064, 2014 WL 1050341, at *6 (S.D. Ohio Mar.

  17, 2014). Thus, whether the Government’s interests are at stake in a particular

  dispute is committed to the discretion of the Government, and that judgment is not

  properly subject to judicial review. See Turner v. Schultz, 187 F. Supp. 2d 1288,

  1294 (D. Colo. 2002) (reading § 517 as “committing the decision-making to the

  agency’s judgment absolutely”). Nonetheless, the United States has properly


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  exercised its discretion here. Protecting individual liberty is also a core function of

  the Department of Justice and it regularly files statements of interest. It did so here

  as part of the Attorney General’s initiative to ensure that civil liberties are

  protected during the COVID-19 pandemic.

  Scope of the Issues: The United States has not sought to expand this litigation’s

  scope.   Plaintiffs argued that the Governor’s Proclamations violated their

  constitutional “right to travel,” e.g., Compl. ¶¶ 75-88, including their “right to travel

  between states of the United States,” e.g., TRO Mot. 14. Although Plaintiffs

  specifically invoked the Fifth Amendment, e.g., TRO Mot. 11, the United States

  does not understand them to be limiting their “right to travel” claim to that particular

  constitutional provision. Indeed, the Supreme Court does not always firmly specify

  the source of its aspects. See Jones v. Helms, 452 U.S. 412, 418–19 (1981) (“The

  right to travel has been described as a privilege of national citizenship, and as an

  aspect of liberty that is protected by the Due Process Clauses”). The United States

  focused on the Privileges and Immunities Clause source, see Saenz v. Roe, 526 U.S.

  489, 500 (1999), because that component is of particular interest to the federal

  government, see id. at 501-02 (without these protections “the Republic would have

  constituted little more than a league of States”). At a minimum, that statement will

  remain relevant if, at the Court’s behest, Plaintiffs amend their complaint to plead

  their “right to travel” claim with greater specificity.


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                                        Respectfully submitted,

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